 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 1 of 40 PageID #: 766




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 ROGER P. JACKSON, M.D.,                            )
                                                    )
                Plaintiff,                          )
                                                    )
                         v.                         ) C.A. No. __________
                                                    )
 NUVASIVE, INC.,                                    ) JURY TRIAL DEMANDED
                                                    )
                Defendant.                          )

                                         COMPLAINT

         Roger P. Jackson, M.D. (hereinafter “Plaintiff” or “Dr. Jackson” or “Plaintiff Dr.

Jackson”), an individual, by and through his attorneys, for his Complaint against NuVasive, Inc.,

a Delaware corporation (hereinafter “Defendant” or “NuVasive” or “Defendant NuVasive”)

hereby alleges as follows:

                             PARTIES, JURISDICTION AND VENUE

         1.    Plaintiff Roger P. Jackson, M.D. is an individual residing at 4706 W. 86 th Street,

Prairie Village, Kansas 66207.

         2.    Defendant NuVasive is a Delaware corporation, with its principal place of business

located at 4545 Towne Center Court, San Diego, California 92121. According to the most recent

SEC 10K filing, dated December 2019, the “principal executive offices” of NuVasive are located

at 7475 Lusk Blvd., San Diego, California 92121. According to that same filing, NuVasive’s

“primary self-manufacturing facility, which produces spinal implants and fixation products,” is

located in West Carrollton, Ohio. See NuVasive “Annual Report Pursuant to Section 13 or 15(d)

of the Securities Exchange Act of 1934, Form 10-K for the Year Ended December 31, 2019”

(hereinafter “NuVasive 10-K”), p. 4, ir.nuvasive.com/node/19716/html (retrieved September 24,

2020).

         3.    This action arises under the patent laws of the United States, Title 35 of the United

States Code, 35 U.S.C. §§ 1 et seq. Consequently, this Court has subject matter jurisdiction over

this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).


75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 2 of 40 PageID #: 767



         4.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) or (2). Venue is

also proper in this Court pursuant to 28 U.S.C. § 1400(a) and (b).

         5.    NuVasive is subject to personal jurisdiction in this Court under 28 U.S.C. §

1391(c)(2) as NuVasive’s principal place of business is within this district.

                                  THE ASSERTED PATENTS

         6.    Plaintiff Dr. Jackson is a pioneering surgeon who focuses on maladies of the spine

and is also a prolific inventor in the spinal implant industry. Dr. Jackson has been awarded over

three hundred twenty United States patents during a career spanning four decades. Among his

many innovations in the field of spinal surgery, Dr. Jackson has developed state-of-the-art patient

positioning technologies and multiple spinal implant systems, including those that feature bone

screws incorporating his patented enabling technologies, as well as instruments and methodologies

for using the same. In particular, Plaintiff Dr. Jackson is the named inventor and sole owner of

certain patents, specifically: U.S. Patent No. 8,353,932; U.S. Patent No. 8,696,711; U.S. Patent

No. 9,788,866; U.S. Patent No. 10,335,200; U.S. Patent No. 10,561,444; U.S. Patent No.

10,722,273; U.S. Patent No. 9,808,292; and, U.S. Patent No. 10,441,319.         Collectively, these

patents will be referred to herein as the “Asserted Patents.”

         7.    The Asserted Patents generally relate to spinal implants and systems used to fixate

or align vertebrae of a patient. Each of the Asserted Patents has been duly and legally issued, is

valid and enforceable pursuant to 35 U.S.C. § 282 and all right, title and interest is solely owned

by Plaintiff Dr. Jackson.

         8.    Plaintiff Dr. Jackson has satisfied the requirements of 35 U.S.C. § 287(a). As Dr.

Jackson does not manufacture and sell products covered by the Asserted Patents, he himself does

not have an obligation under § 287(a) to mark. However, Dr. Jackson has granted licenses to

certain of the Asserted Patents and those licensees are obligated to mark products they manufacture

or sell covered by the licensed patents, and to Dr. Jackson’s knowledge do so. Moreover, Dr.

Jackson, as detailed below, provided actual notice to Defendant on or before March 7, 2019.




                                                 2
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 3 of 40 PageID #: 768



         9.    Furthermore, Plaintiff Dr. Jackson provided actual notice of the Asserted Patents to

Defendant NuVasive prior to the filing of this Complaint, as detailed below.

                                    U.S. Patent No. 8,353,932

         10.   Plaintiff owns all right, title and interest in U.S. Patent No. 8,353,932 (the `932

patent), entitled “Polyaxial Bone Anchor Assembly with One-Piece Closure, Pressure Insert and

Plastic Elongate Member.” The `932 patent duly and lawfully issued on January 15, 2013, with

Roger Jackson as the sole named inventor.         The `932 patent issued from Application No.

12/229,207, which was filed on August 20, 2008 and on its face ultimately claims priority to a

collection of non-provisional applications and provisional applications, the earliest of which is

U.S. Provisional Application 60/722,300, filed on September 30, 2005. A true and correct copy

of the `932 patent is attached hereto as Exhibit 1.

                                    U.S. Patent No. 8,696,711

         11.   Plaintiff owns all right, title and interest in U.S. Patent No. 8,696,711 (the `711

patent), entitled “Polyaxial Bone Anchor Assembly with One-Piece Closure, Pressure Insert and

Plastic Elongate Member.” The `711 patent duly and lawfully issued on April 15, 2014, with

Roger Jackson as the sole named inventor.         The `711 patent issued from Application No.

13/507,802, which was filed on July 30, 2012 and on its face ultimately claims priority to a

collection of non-provisional applications and provisional applications, the earliest of which is

U.S. Provisional Application 60/722,300, filed on September 30, 2005. A true and correct copy

of the `711 patent is attached hereto as Exhibit 2.

                                    U.S. Patent No. 9,788,866

         12.   Plaintiff owns all right, title and interest in U.S. Patent No. 9,788,866 (the `866

patent), entitled “Polyaxial Bone Screw with Shank Articulation Pressure Insert and Method.” The

`866 patent duly and lawfully issued on October 17, 2017, with Roger Jackson as the sole named

inventor. The `866 patent issued from Application No. 15/401,618, which was filed on January 9,

2017 and on its face ultimately claims priority to U.S. Application No. 11/140,343, filed on May

27, 2005. A true and correct copy of the `866 patent is attached hereto as Exhibit 3.


                                                 3
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 4 of 40 PageID #: 769



                                   U.S. Patent No. 10,335,200

         13.   Plaintiff owns all right, title and interest in U.S. Patent No. 10,335,200 (the `200

patent), entitled “Pivotal Bone Anchor Assembly with Twist-In-Place Insert Having Alignment

Notches.” The `200 patent duly and lawfully issued on July 2, 2019, with Roger Jackson as the

sole named inventor. The `200 patent issued from Application No. 15/940,343, which was filed

on March 29, 2018 and on its face ultimately claims priority to U.S. Provisional Application No.

60/995,083, file on September 17, 2007. A true and correct copy of the `200 patent is attached

hereto as Exhibit 4.

                                   U.S. Patent No. 10,561,444

         14.   Plaintiff owns all right, title and interest in U.S. Patent No. 10,561,444 (the `444

patent), entitled “Pivotal Bone Anchor Assembly With Twist-In-Place Insert Having Radially

Offset Receiver Engaging Structures.” The `444 patent duly and lawfully issued on February 18,

2020, with Roger Jackson as the sole named inventor. The `444 patent issued from Application

No. 16/411,826, which was filed on May 14, 2019 and on its face ultimately claims priority to U.S.

Provisional Application No. 60/994,083 filed on September 17, 2007. A true and correct copy of

the `444 patent is attached hereto as Exhibit 5.

                                   U.S. Patent No. 10,722,273

         15.   Plaintiff owns all right, title and interest in U.S. Patent No. 10,722,273, the (`273

patent), entitled “Bone Anchor Assembly with Twist-In-Place Pressure Insert.” The `273 patent

duly and lawfully issued on July 28, 2020, with Roger Jackson as the sole named inventor. The

`273 patent issued from Application No. 16/371,423, which was filed on April 1, 2019 and on its

face ultimately claims priority to Application No. 11/140,343, filed on May 27, 2005. A true and

correct copy of the `273 patent is attached hereto as Exhibit 6.

                                    U.S. Patent No. 9,808,292

         16.   Plaintiff owns all right, title and interest in U.S. Patent No. 9,808,292 (the `292

patent), entitled “Cannulated Polyaxial Screw.” The `292 patent duly and lawfully issued on

November 7, 2017, with Roger Jackson as the sole named inventor. The `292 patent issued from


                                                   4
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 5 of 40 PageID #: 770



Application No. 14/868,213, which was filed on September 28, 2015 and on its face ultimately

claims priority to Application No. 10/464,633, filed on June 18, 2003. A true and correct copy of

the `292 patent is attached hereto as Exhibit 7.

                                    U.S. Patent No. 10,441,319

         17.    Plaintiff owns all right, title and interest in U.S. Patent No. 10,441,319 (the `319

patent), entitled “Pivotal Bone Anchor with Tool Engagement Grooves and Break-Off

Extensions.” The `319 patent duly and lawfully issued on October 15, 2019, with Roger Jackson

and James Surber as the named inventors.           The `319 patent issued from Application No.

15/663,316, which was filed on July 28, 2017 and on its face ultimately claims priority to a

collection of non-provisional applications and provisional applications, the earliest of which is

U.S. Provisional Application No. 61/268,708, filed on June 15, 2009. A true and correct copy of

the `319 patent is attached hereto as Exhibit 8.

             NUVASIVE’S UNAUTHORIZED USE OF THE ASSERTED PATENTS

         18.    NuVasive is a publicly traded medical device company listed on the NASDAQ and

based in San Diego, California.

         19.    According to the NuVasive 10-K, dated December 31, 2019, NuVasive is “a

leading medical device company in the global spine surgery market, focused on developing

minimally disruptive surgical products and procedurally integrated solutions for spine surgery.

[NuVasive’s] currently marketed product portfolio focuses on applications for spine fusion

surgery, including ancillary products and services used to aid in the surgical procedure.” See

NuVasive 10-K, p. 44.

         20.    NuVasive’s website states that “[t]hrough the integration of industry-leading

procedures and enabling technologies, we advance the standard of care to help hundreds of

thousands of patients each year. Our commitment is to deliver the safest, most efficient technology

in the OR to help improve clinical and economic outcomes.” See “Transform outcomes through

best-in-class technology,” nuvasive.com/about (retrieved September 24, 2020).



                                                   5
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 6 of 40 PageID #: 771



         21.    NuVasive’s business strategy centers on the “Maximum Access Surgery”

platform, referred to by NuVasive as the “MAS” platform. According to the NuVasive 10-K filing,

NuVasive’s “procedurally integrate[d] solutions use innovative, technological advancements and

a minimally disruptive surgical platform called Maximum Access Surgery, or MAS, to provide

surgical efficiency, operative reliability, and procedural versatility. For the year ended December

31, 2019, [NuVasive] generated global revenues of $1.17 billion, including sales in more than 50

countries.” See NuVasive 10-K, at p. 3.

         22.   Of NuVasive’s 2019 revenue of $1.17 billion dollars, approximately $850 million

dollars of revenue was generated by NuVasive’s “Spinal Hardware,” which NuVasive describes

as including NuVasive’s “implants and fixation products.” See NuVasive 10-K, at p. 50.

         23.   While the MAS platform has many complementary components, crucial

components of the system include implants: “[NuVasive] offer[s] a range of implants for spinal

surgery, which include … fixation products such as customizable rods, plates and screws.” See

NuVasive 10-K, at p. 3. NuVasive further explains that it has “many implants and fixation

products designed to be used with our MAS platform…. Our fixation offerings include our

VuePoint, Armada, Precept and Reline posterior fixation portfolios.” See Id., at p. 7.

         24.   Central to NuVasive’s strategy, NuVasive plans to “[e]stablish our MAS Platform

as the Standard of Care,” while at the same time “Continu[ing] to Develop and Introduce

Procedurally Integrated Solutions and New Innovative Products” with a focus on “protect[ing] and

defend[ing] the intellectual property related to our innovative products.” See NuVasive 10-K, at

p. 4.

         25.   However, NuVasive recognizes and accepts that its supposedly “innovative

products” may include components and enabling technologies and methodologies that may be

covered by the intellectual property of third parties, in particular, competitors: Nuvasive “products

and methods may be covered by patents held by our competitors.” See NuVasive 10-K, at p. 11.

To mitigate this risk, NuVasive strategically attempts to “Selectively License or Acquire

Complementary Products and Technology.” See Id., at p. 5.


                                                 6
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 7 of 40 PageID #: 772



         26.   Indeed, in 2008 NuVasive executed a “Development and License Agreement” with

Dr. Jackson covering certain aspects of the intellectual property developed by Dr. Jackson or

licensed by Dr. Jackson. Under this agreement, Dr. Jackson granted NuVasive patent rights

relating to certain polyaxial screw components, certain minimal and less invasive surgery tools

and techniques as well as relating to certain implants incorporating closure tops having helical

flanges and with or without break-off extensions or tabs. These patent rights were granted in

exchange for an upfront royalty payment and a running royalty based on net sales.

         27.   In 2014, the “Development and License Agreement” was replaced with the

“Amended and Restated Development and License Agreement.” Under this new agreement, Dr.

Jackson assigned some patent rights to NuVasive that Dr. Jackson had only licensed to NuVasive

under the 2008 agreement. Further, Dr. Jackson granted NuVasive additional licenses generally

relating to “Helical Flange” products, to “BOT Implant” products and to “Instruments and

Methodologies,” as those terms and embodiments are defined in the new agreement. Additionally,

Dr. Jackson granted NuVasive covenants not-to-sue either NuVasive or its direct and indirect

customers relating to its spinal systems and products incorporating and utilizing the MIS (Tools)

IP, Top Notch (Receivers) IP, Helical Flange, BOT Implants, Instruments, Methodologies,

Polyaxial Screw (with Compound Articulating Retainers) IP or “Related System Components,” as

those terms and embodiments are defined by the new agreement. In exchange for these rights,

NuVasive made a one-time payment to Dr. Jackson, but was no longer required to pay a running

royalty.

         28.   Neither the original 2008 agreement nor the later 2014 agreement granted

NuVasive rights to all of Dr. Jackson’s enabling device technologies for certain spinal implants.

For example, the Asserted Patents involve enabling device technologies not covered by either the

2008 or 2014 agreements. And, on March 7, 2019, Dr. Jackson offered NuVasive additional

license rights to the technologies and embodiments claimed by the Asserted Patents in a letter sent

to Michael Doyle, then NuVasive’s Vice President and Chief Intellectual Property Counsel.




                                                7
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 8 of 40 PageID #: 773



         29.     In that March 7, 2019 letter, Dr. Jackson specifically offered to license “various

patent families” directed to a “non-threaded, twist-in-place insert for a polyaxial screw (‘TIP Insert

Technology’) and a cannulated polyaxial screw (‘Cannulated Polyaxial Screw Technology’).”

         30.     By March 7, 2019, Dr. Jackson had become aware that his enabling TIP Insert

Technology was being used in at least the Armada, Precept and Reline product line systems of

NuVasive and for which NuVasive required a license.

         31.     The March 7, 2019 letter specifically identified: U.S. Patent No. 8,353,932; U.S.

Patent No. 9,788,866; U.S. Patent No. 10,335,200; U.S. Patent No. 9,808,292; and, U.S. Patent

No. 10,441,319; among others. These patents were directly and specifically called out by patent

number or by application serial number.

         32.     Other patents were identified more indirectly. In the case of U.S. Patent No.

10,561,444 and U.S. Patent No. 10,722,273, these patents were identified indirectly as they are

members of Dr. Jackson’s “various patent families” relating to “TIP Insert Technology.”

Moreover, these patents are the descendants of other patents that were specifically identified by

serial number. For example, U.S. Patent No. 8,696,711 is based on a continuation of U.S. Patent

No. 8,353,932. Likewise, U.S. Patent No. 10,561,444 is based on a continuation of U.S. Patent

No. 10,335,200. Similarly, U.S. Patent No. 10,722,273 is based on a continuation of U.S. Patent

No. 9,788,866.

         33.     NuVasive declined to discuss additional license rights with Dr. Jackson.

Accordingly, NuVasive lacks the necessary additional license rights offered by Dr. Jackson that

would allow NuVasive to lawfully manufacture, distribute and offer for sale and sell certain of its

implant products, such as the products accused of infringement herein.

         34.     Collectively, at this time, the NuVasive Armada, Precept, Reline, SpheRx, SpheRx

II, SpheRx III and VuePoint screw products constitute the known “Accused Products” and infringe

one or more claims of the Asserted Patents as set forth below.

         35.     Generally, each of the Accused Products known to Dr. Jackson at this time, is

designed, manufactured and sold by NuVasive to treat one of several spinal conditions, such as


                                                  8
75062127.4
 Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 9 of 40 PageID #: 774



Cervical and Lumbar Degenerative Disc Disease, Lumbar Spinal Stenosis, Degenerative and Lytic

Spondylolisthesis, Degenerative Scoliosis and other Deformities, Back Pain and Early Onset

Scoliosis, trauma and other spinal conditions. One common denominator in each of these

conditions, as well as some additional conditions, is that each can potentially be treated through

the mechanical stabilization or fixation of one or more vertebrae of a patient involved in these

types of spinal conditions.

         36.   Importantly, one or more of the Accused Products can be sold in at least two states

of relative assembly — “modular” and “fully assembled.” Modular screws are those assemblies

that are shipped from NuVasive with a receiver assembly having an installed retainer and a twist-

in-place insert engageable with a rod, while the shank is not attached to the receiver assembly.

This permits the surgeon to utilize shanks of different types or lengths with the pre-assembled

receiver, retainer and insert. Among other benefits, this modular assembly saves time by not

requiring the surgeon to assemble various components, while retaining some flexibility as to the

shank, cannulated or not. Alternatively, fully assembled screws sold by NuVasive include a pre-

assembled shank in addition to the receiver, retainer and insert. This fully assembled screw saves

the surgeon additional time with the trade-off of some flexibility. Fully assembled screws can

more readily provide a pre-lock friction fit feature with the twist-in-place insert engaging the

shank.

         37.   As detailed below, both the modular and fully assembled states infringe the asserted

claims. As detailed below, fully assembled screws directly infringe all claims pursuant to 35

U.S.C. § 271(a) while the modularly assembled screws directly infringe certain claims under §

271(a), while indirectly infringing other claims under § 271(b).

                                The NuVasive Armada Product:

         38.   NuVasive describes the “Armada spinal system [as being] designed for surgeons

treating multiple pathologies, ranging from low-back, degenerative conditions to complex spinal

deformities.” See NuVasive’s “Armada Vertebral Body Derotation Technique Guide”, attached

hereto as Exhibit 9, at p. 1. According to NuVasive, “Armada provides sophisticated instruments


                                                9
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 10 of 40 PageID #: 775



and implants that integrate seamlessly to work in concert with the most advanced surgical

techniques.” See Id. The Armada “system is designed to be extremely rigid, yet easily assembled

and disassembled to adapt to surgeons’ various techniques in the correction of rotational

deformities.” See Id. The Armada spinal system provides a wide array of screw implant offerings,

including modular and fully assembled screws some with a pre-lock friction fit feature.

         39.    NuVasive manufactures, offers for sale and sells the Armada system in a series of

“Instrument Trays,” where each tray is designed to include the various implants, instruments and

components necessary to perform a variety of spinal procedures, as shown below:




Exhibit 9, at pp. 2 (left), 16 (right).




                                               10
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 11 of 40 PageID #: 776



         40.   NuVasive recommends several styles of implant screws for use in its Armada

system, including “Fixed Screws,” “Uniplanar Screws” and/or “Provisional Locking Screws.”

Exhibit 9, at p. 2. The “Provisional Locking Screws” in particular are described as “providing

the flexibility of a polyaxial screw with the corrective capability of a fixed screw,” as depicted

below:




See Id. at p. 2 (left); see also NuVasive’s “Grandes Aplicacoes com Processo Sofisticado,” at p. 6

(right), hereinafter Exhibit 25. Upon information and belief, such polyaxial screws can be sold

“modular” and “fully assembled.”

         41.   Further, the Armada system makes use of cylindrical rods that connect multiple

bone anchors, as shown below:




Exhibit 9, at p. 4.

                                               11
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 12 of 40 PageID #: 777



         42.   The rod-engaging inserts used in the bone anchors of the Armada system, upon

information and belief, have a top surface with a pair of tool interface notches or slots so that they

can be twisted or rotated in place within the receiver until outer surfaces of the insert become

engaged with inner surfaces of the receiver to inhibit further movement of the insert relative to the

receiver.

                                 The NuVasive Precept Product:

         43.   Similarly, to the Armada product, discussed above, NuVasive describes the Precept

spinal system as “consist[ing] of a variety of polyaxial screws, reduction screws, offset connectors,

rods, locking nuts, and transverse connectors.”         See NuVasive “Special 510k Premarket

Notification – NuVasive Precept Spinal System,” attached hereto as Exhibit 10, p. 1. “Implant

components can be rigidly locked into a variety of different configurations to suit the individual

pathology and anatomical conditions of the patient.” See Id.

         44.   Depicted below, the Precept product is in various stages and views of implantation:




See NuVasive “Brigade Standalone ALIF Surgical Technique” attached hereto as Exhibit 11, at

                                                 12
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 13 of 40 PageID #: 778



p. 3 (top); see also Screenshot from “MAS Fixation Patient Education Animation” dated January

10, 2019 by “NuVasiveInc” channel, www.youtube.com/watch?v=LC2Y5jT9RQU (retrieved

September 24, 2020) at 0:49 (bottom left), at 1:46 (bottom right). Upon information and belief,

Precept screws can be sold “modular” and “fully assembled.”

         45.   The rod-engaging inserts used in the bone anchors of the Precept system, upon

information and belief, have a top surface with tool interface notches or slots so that they can be

twisted or rotated in place within the receiver until outer surfaces of the insert become engaged

with inner surfaces of the receiver to inhibit further movement of the insert relative to the receiver.

The Precept screw shank is cannulated and the shank head is engaged by the insert.

                                  The NuVasive Reline Product:

         46.   NuVasive states “[t]he Reline portfolio represents an evolution of posterior fixation

technology designed to facilitate the preservation and restoration of patient alignment, while

addressing a vast array of spinal pathologies from an open, MAS®, or hybrid approach.” See

https://www.nuvasive.com/procedures/featured-offerings/reline/ (retrieved October 12, 2020).

The Reline suite of instrumentation is designed for procedural versatility with its implants

accommodating multiple rod diameters and materials. See Id. Upon information and belief,

NuVasive has manufactured, offered for sale and sold at least two versions of the Reline product,

Reline I and Reline II. Collectively, these products will be referred to simply as the “Reline”

product for the purposes of the allegations of this Complaint unless otherwise specified.




                                                  13
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 14 of 40 PageID #: 779



         47.   As depicted below, with post-operative lateral and frontal radiographs, the

NuVasive        Reline       product      is      shown        installed   in    a     patient:




See NuVasive’s “Medialized Minimally Disruptive Procedure Newsletter” for March 29, 2018,

attached hereto as Exhibit 12, at p. 1.

         48.   Further, as depicted below, the NuVasive Reline system is shown in a separate or

stand-alone configuration as would be installed in a patient (left) and also with some of the

instruments used to install and adjust the Reline implants (right):




See Nuvasive’s “An Introduction to Posterior Fixation for the Thoracolumbar Spin,” copyright

                                                 14
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 15 of 40 PageID #: 780



2017, attached hereto as Exhibit 13, at p.7 (left); see also www.nuvasive.com/wp-

content/uploads/2017/02/iga_obro_i_reline_rod_screws.png (retrieved September 24, 2020)

(right). The rod-engaging inserts used in the bone anchors of the Reline system, upon information

and belief, have a top surface with tool interface notches or slots so that they can be twisted or

rotated in place within the receiver until outer surfaces of the insert become engaged with inner

surfaces of the receiver to inhibit further movement of the insert relative to the receiver. Further,

upon information and belief, the Reline screws can be sold “modular” and “fully assembled.”

                                The NuVasive SpheRx Products:

         49.   NuVasive describes the SpheRx system as being “[d]esigned for and dedicated to

open pedicle screw fixation.” See NuVasive’s “SpheRx II Unique Spherical Rod Design”,

copyright 2014, attached hereto as Exhibit 14, at p. 1. The system includes polyaxial screws that

couple with both spherical end rods and conventional cylindrical rods. Utilizing the spherical end

rods permits “[n]o rod overhang at the superior end of the construct[.]” See Id. Such a design

“[m]inimize[s] incidence of adjacent level disease and facet joint impingement.” See Id.

         50.   Upon information and belief, NuVasive has manufactured, offered for sale and sold

three versions of the polyaxial screws for the SpheRx system, namely the SpheRx or SpheRx DBR,

SpheRx II or SpheRx DBR II, and SpheRx III or SpheRx DBR III, with an apparent substantial

design change being made between the SpheRx and SpheRx II/III polyaxial screws. Respectively,

these products will be referred to as the “SpheRx” and “SpheRx II/III” products for the purposes

of the allegations of this Complaint to reflect this design change unless otherwise specified.

         51.   At least one version of the SpheRx screw products have a cannulated polyaxial

screw, a non-pivoting retainer, and an insert held in place by crimps with surfaces configured to

accommodate both spherical and cylindrical end rods.




                                                 15
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 16 of 40 PageID #: 781



         52.   Depicted below, a pair of SpheRx screws are shown partially assembled with a rod

having spherical ends (i.e. a dual ball rod (DBR) connector) and shown in one of its various

polyaxial configurations:




See NuVasive’s SEC Filing entitled “Amendment No. 1 to Form S-3” dated January 23, 2006,

ir.nuvasive.com/node/10691/html at p. 3 (retrieved September 24, 2020).

         53.   The SpheRx II/III screw products, upon information and belief, have a compound

articulation-type retainer and a twist-in-place insert with two upwardly facing surfaces to

accommodate both spherical and cylindrical end rods. Upon information and belief, the rod-

engaging inserts used in the bone anchors of the SpheRx II/III systems have a top surface with tool

interface notices or slots so that they can be twisted or rotated in place within the receiver until

outer surfaces of the insert become engaged with inner surfaces of the receiver to inhibit further

movement of the insert relative to the receiver.




                                                   16
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 17 of 40 PageID #: 782



         54.   Depicted below, the SpheRx DBR II and SpheRx DBR III screw (as they share a

receiver design) are shown assembled using a spherical end (ball) rod (left) and shown assembled

in various polyaxial configurations (right):




See Exhibit 14 at p. 2. Upon information and belief, the SpheRx screws can be sold “modular”

and “fully assembled.”

                                The NuVasive VuePoint Product:

         55.   NuVasive describes its VuePoint (hereinafter “VuePoint”) screw products

comprise a system that provides: “[c]olor-coded, friction-fit, polyaxial screw heads [that] promote

easy identification and handling.” See NuVasive’s “VuePoint II Technique Guide,” copyright 2015

attached hereto as Exhibit 26, at p. 3. Upon information and belief, NuVasive has manufactured,

offered for sale and sold two versions of the VuePoint Product, the VuePoint I and VuePoint II.

Collectively, these products will be referred to as the “VuePoint” product for the purposes of the

allegations of this Complaint unless otherwise specified.

         56.   The NuVasive VuePoint screw products can include polyaxial screw

configurations. As depicted below, VuePoint’s polyaxial screw products can be configured with

a 40/40° degrees of angulation and an 80° conical sweep. See Id. at p. 12.




                                                17
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 18 of 40 PageID #: 783



         57.    Further, as depicted below, NuVasive highlights the advantages of the VuePoint’s

friction-fit feature during installation. According to NuVasive, friction fit “helps eliminate head

flop, which is potentially troublesome when aligning a multi-level construct.” See Id. at p. 16;

see also:




See Id. at pp. 10 (left), 14 (right). Upon information and belief, VuePoint screws are sold “fully

assembled” in which the rod-engaging insert, having a top surface with tool interface notches or

slots, will have been twisted or rotated in place within the receiver until outer surfaces of the insert

will have become engaged with inner surfaces of the receiver and a bottom surface of the insert

engaged with the shank head to establish the pre-lock friction fit.

                                            COUNT ONE
                                  Infringement of the `932 Patent

         58.    Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 57.

         59.    As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `932 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the Armada, Precept, Reline, SpheRx II/III as

well as the VuePoint screw products:



                                                  18
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 19 of 40 PageID #: 784



         60.   Specifically, the Armada screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connection member” as set

forth in claim 1 of the `932 patent when certain components of the Armada screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 15 details how these assembled components of the Armada screw product

directly infringe at least claims 1, 22, 31 and 32 of the `932 patent by satisfying each and every

limitation of those claims, either literally or under the doctrine of equivalents.

         61.   Further, when certain components of the Armada screw products are implanted by

a surgeon in order to treat one of several spine conditions the Armada screw products also directly

infringe at least claims 1, 22, 31 and 32 of the `932 patent.

         62.   Specifically, the Precept screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `932 patent when certain components of the Precept screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 15 details how these assembled components of the Precept screw products

directly infringes at least claims 1, 22, 31 and 32 of the `932 patent by satisfying each and every

limitation those claims, either literally or under the doctrine of equivalents.

         63.   Further, when the certain components of the Precept screw products are implanted

by a surgeon in order to treat one of several spine conditions the Precept screw products also

directly infringe at least claims 1, 22, 31 and 32 of the `932 patent.

         64.   Specifically, the Reline screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `932 patent when certain components of the Reline screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 15, details how these assembled components of the Reline product directly

infringes at least claims 1, 22, 31 and 32 of the `932 patent by satisfying each and every limitation

of those claims, either literally or under the doctrine of equivalents.


                                                  19
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 20 of 40 PageID #: 785



         65.    Further, when the certain components of the Reline screw products are implanted

by a surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claims 1, 22, 31 and 32 of the `932 patent.

         66.    Specifically, the SpheRx II/III screw product comprise a “medical implant

assembly having at least one polyaxial bone screw attached to a longitudinal connecting member”

as set forth in claim 1 of the `932 patent when certain components of the SpheRx II/III screw

products are implanted by a surgeon in order to treat one of several spine conditions. The claim

chart attached hereto as Exhibit 15, details how these assembled components of the SpheRx II/III

screw products directly infringe at least claims 1, 22, 31 and 32 of the `932 patent by satisfying

each and every limitation of those claims, either literally or under the doctrine of equivalents.

         67.    Further, when certain components of the SpheRx II/III screw products are

implanted by a surgeon in order to treat one of several spine conditions the SpheRx II/III screw

products also directly infringe at least claims 1, 22, 31 and 32 of the `932patent.

         68.    Specifically, the VuePoint screw product comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `932 patent when certain components of the VuePoint screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 16, details how these assembled components of the VuePoint screw products

directly infringe at least claim 1 of the `932 patent by satisfying each and every limitation of claim

1, either literally or under the doctrine of equivalents.

         69.    Further, when certain components of the VuePoint screw products are implanted

by a surgeon in order to treat one of several spine conditions the VuePoint screw products also

directly infringe at least claim 1 of the `932 patent.

         70.    NuVasive had actual knowledge of the `932 patent and NuVasive’s unauthorized

use thereof as Dr. Jackson offered a license to NuVasive under the `932 patent – including

specifically claim 1 on or about March 7, 2019. Further, NuVasive, upon information and belief,

has the specific intent to encourage surgeons to directly infringe at least claims 1, 22, 31 and 32


                                                  20
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 21 of 40 PageID #: 786



of the `932 patent by using and/or assembling certain components of the Armada, Precept, Reline

and SpheRx II/III, respectively, as discussed above. Also, NuVasive, upon information and belief,

has the specific intent to encourage surgeons to directly infringe at least claim 1 of the `932 patent

by using and/or assembling certain components of the VuePoint screw products, as discussed

above. NuVasive provides the components used in the completed medical implant assembly for

the Armada, Precept, Reline, SpheRx II/III and VuePoint screw products along with instructions

and tools to accomplish this assembly. Consequently, NuVasive induces the infringement of the

`932 patent through at least its unauthorized sales of the Armada, Precept, Reline, SpheRx II/III

and VuePoint screw products pursuant to 35 U.S.C. § 271(b).

         71.   NuVasive’s Armada, Precept, Reline, SpheRx II/III and VuePoint screw products

and their systems can be sold partially disassembled in their constituent components as part of

surgical trays. These components, such as the “longitudinal connecting member,” “shank,”

“compression insert,” etc., as claimed, comprise material components of the “medical implant

assembl[ies]” of at least claim 1, and are designed, configured and adapted to work with each other

and have no substantial purpose other than as part of infringing devices and are accordingly not

staple articles of commerce. Consequently, NuVasive contributes to the infringement of the `932

patent through at least its unauthorized sales of the surgical trays incorporating the Armada,

Precept, Reline, SpheRx II/III and VuePoint screw products pursuant to 35 U.S.C. § 271(c).

         72.   As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `932 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `932 patent – an offer that NuVasive rejected.

                                          COUNT TWO

                                 Infringement of the `711 Patent

         73.   Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 72.

         74.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `711 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to


                                                 21
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 22 of 40 PageID #: 787



sell, importing and/or distributing without authority the Armada, Precept, Reline, and VuePoint

screw products:

         75.    Specifically, the Armada screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connection member” as set

forth in claim 1 of the `711 patent when certain components of the Armada screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 17 details how these assembled components of the Armada screw products

directly infringes at least claim 1 of the `711 patent by satisfying each and every limitation of

claim 1, either literally or under the doctrine of equivalents.

         76.    Further, when the components of the Armada screw products are implanted by a

surgeon in order to treat one of several spine conditions the Armada screw products also directly

infringe at least claim 1 of the `711 patent.

         77.    Specifically, the Precept screw products comprise a “medial implant assembly

having at least one polyaxial bone screw attached to a longitudinal connection member” as set

forth in claim 1 of the `711 patent when certain components of the Precept screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 17 details how these assembled components of the Precept screw products

directly infringe at least claim 1 of the `711 patent by satisfying each and every limitation of claim

1, either literally or under the doctrine of equivalents.

         78.    Further, when the certain components of the Precept screw products are implanted

by a surgeon in order to treat one of several spine conditions the Precept screw products also

directly infringe at least claim 1 of the `711 patent.

         79.    Specifically, the Reline screw products comprise a “medial implant assembly

having at least one polyaxial bone screw attached to a longitudinal connection member” as set

forth in claim 1 of the `711 patent when certain components of the Reline screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 17 details how these assembled components of the Reline screw products


                                                  22
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 23 of 40 PageID #: 788



directly infringe at least claim 1 of the `711 patent by satisfying each and every limitation of claim

1, either literally or under the doctrine of equivalents.

         80.    Further, when the certain components of the Reline screw products are implanted

by a surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claim 1 of the `711 patent.

         81.    Specifically, the VuePoint screw products comprise a “medial implant assembly

having at least one polyaxial bone screw attached to a longitudinal connection member” as set

forth in claim 1 of the `711 patent when certain components of the VuePoint screw products are

implanted by a surgeon in order to treat one of several spine conditions. The claim chart attached

hereto as Exhibit 17 details how these assembled components of the VuePoint screw products

directly infringe at least claim 1 of the `711 patent by satisfying each and every limitation of claim

1, either literally or under the doctrine of equivalents.

         82.    Further, when the certain components of the VuePoint screw products are

implanted by a surgeon in order to treat one of several spine conditions the VuePoint screw

products also directly infringe at least claim 1 of the `711 patent.

         83.    NuVasive had or should have had actual knowledge of the `711 patent and

NuVasive’s unauthorized use thereof as Dr. Jackson offered a license to NuVasive under the

family of patents that included the `711 on or about March 7, 2019. Further, NuVasive, upon

information and belief, has the specific intent to encourage surgeons to directly infringe at least

claim 1 of the `711 patent by using and/or assembling components of the Armada, Precept, Reline

and VuePoint screw products, respectively, as discussed above.              NuVasive provides the

components used in the completed medical implant assembly for the Armada, Precept, Reline and

VuePoint screw products along with instructions and tools to accomplish this assembly.

Consequently, NuVasive induces the infringement of the `711 patent through at least its

unauthorized sales of the Armada, Precept, Reline and VuePoint screw products pursuant to 35

U.S.C. § 271(b).




                                                  23
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 24 of 40 PageID #: 789



         84.      Further, NuVasive’s Armada, Precept, Reline and VuePoint screw products and

their systems can be sold partially disassembled in their constituent components as part of surgical

trays. These components, such as the “longitudinal connecting member,” “shank,” “receiver,”

“compression insert,” etc., as claimed, comprise material components of the “medical implant

assembly” of at least claim 1, and are designed, configured and adapted to work with each other

and have no substantial purpose other than as part of infringing devices and are accordingly not

staple articles of commerce. Consequently, NuVasive contributes to the infringement of the `711

patent through at least its unauthorized sales of the surgical trays incorporating the Armada,

Precept, Reline and VuePoint screw products pursuant to 35 U.S.C. § 271(c).

         85.      As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `711 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `711 patent – an offer that NuVasive rejected.

                                           COUNT THREE

                                   Infringement of the `866 Patent

         86.      Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 85.

         87.      As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `866 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the Armada, Precept, Reline and SpheRx II/III

screw products:

         88.      Specifically, the Armada screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `866 patent when certain

components of the Armada product are implanted by a surgeon in order to treat one of several

spine conditions. The claim chart attached hereto as Exhibit 18 details how these assembled

components of the Armada screw products directly infringe at least claims 1 and 9 of the `866

patent by satisfying each and every limitation of those claims, either literally or under the doctrine

of equivalents.


                                                    24
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 25 of 40 PageID #: 790



         89.   Further, when the certain components of the Armada screw products are implanted

by a surgeon in order to treat one of several spine conditions the Armada screw products also

directly infringe at least claims 1 and 9 of the `866 patent.

         90.   Specifically, the Precept screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `866 patent when certain

components of the Precept screw products are implanted by a surgeon in order to treat one of

several spine conditions. The claim chart attached hereto as Exhibit 18 details how these

assembled components of the Precept screw products directly infringe at least claims 1 and 9 of

the `866 patent by satisfying each and every limitation of those claims, either literally or under the

doctrine of equivalents.

         91.   Further, when the certain components of the Precept screw products are implanted

by a surgeon in order to treat one of several spine conditions the Precept screw products also

directly infringe at least claims 1 and 9 of the `866 patent.

         92.   Specifically, the Reline screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `866 patent when certain

components of the Reline screw products are implanted by a surgeon in order to treat one of several

spine conditions. The claim chart attached hereto as Exhibit 18, details how these assembled

components of the Reline screw products directly infringe at least claims 1 and 9 of the `866 patent

by satisfying each and every limitation of those claims, either literally or under the doctrine of

equivalents.

         93.   Further, when the certain components of the Reline screw products are implanted

by a surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claims 1 and 9 of the `866 patent.

         94.   Specifically, the SpheRx II/III screw products comprise a “bone anchor assembly

for securing an elongate rod to a bone” as set forth in claim 1 of the `866 patent when certain

components of the SpheRx II/III screw products are implanted by a surgeon in order to treat one

of several spine conditions. The claim chart attached hereto as Exhibit 18, details how these


                                                 25
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 26 of 40 PageID #: 791



assembled components of the SpheRx II/III screw products directly infringe at least claims 1 and

9 of the `866 patent by satisfying each and every limitation of those claims, either literally or under

the doctrine of equivalents.

         95.   Further, when the certain components of the SpheRx II/III screw products are

implanted by a surgeon in order to treat one of several spine conditions the SpheRx II/III screw

products also directly infringe at least claims 1 and 9 of the `866 patent.

         96.   NuVasive had actual knowledge of the `866 patent and NuVasive’s unauthorized

use thereof as Dr. Jackson offered a license to NuVasive under the `866 patent – including

specifically claim 1 -- on or about March 7, 2019. Further, NuVasive, upon information and belief,

has the specific intent to encourage surgeons to directly infringe at least claims 1 and 9 of the `866

patent by using and/or assembling components of the Armada, Precept, Reline, SpheRx II/III

screw products, respectively, as discussed above. NuVasive provides the components used in the

completed bone anchor assembly for the Armada, Precept, Reline, SpheRx II/III screw products

along with instructions and tools to accomplish this assembly. Consequently, NuVasive induces

infringement of the `932 patent through at least its unauthorized sales of the Armada, Precept,

Reline, SpheRx II/III screw products pursuant to 35 U.S.C. § 271(b).

         97.   NuVasive’s Armada, Precept, Reline SpheRx II/III screw products and their

systems can be sold partially disassembled in their constituent components as part of surgical trays.

These components, such as the “shank,” “receiver,” “retainer”, etc., as claimed, comprise material

components of the “bone anchor assembly for securing an elongate rod to a bone” of at least claims

1 and 9, and are designed, configured and adapted to work with each other and have no substantial

purpose other than as part of infringing devices and are accordingly not staple articles of

commerce. Consequently, NuVasive contributes to the infringement of the `866 patent through at

least its unauthorized sales of the surgical trays incorporating the Armada, Precept, Reline, SpheRx

II/III screw products pursuant to 35 U.S.C. § 271(c).




                                                  26
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 27 of 40 PageID #: 792



         98.    As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `866 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `866 patent – an offer that NuVasive rejected.

                                          COUNT FOUR

                                 Infringement of the `200 Patent

         99.    Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 98.

         100.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `200 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the Armada, Precept, Reline, SpheRx II/III

and VuePoint screw products:

         101.   Specifically, the Armada screw products comprise a “pivotal bone anchor assembly

for securing an elongate rod to a bone via a closure top” as set forth in claim 1 of the `200 patent.

The claim chart attached hereto as Exhibit 19 details how the Armada screw products directly

infringe at least claims 1 and 18 of the `200 patent by satisfying each and every limitation of those

claims of the `200 patent either literally or under the doctrine of equivalents.

         102.   Further, when certain components of the Armada screw products are implanted by

a surgeon in order to treat one of several spine conditions the Armada screw products also directly

infringe at least claims 1 and 18 of the `200 patent.

         103.   Specifically, the Precept screw products comprise a “pivotal bone anchor assembly

for securing an elongate rod to a bone via a closure top” as set forth in claim 18 of the `200 patent.

The claim chart attached hereto as Exhibit 19 details how the Precept screw products directly

infringe at least claims 1 and 18 of the `200 patent by satisfying each and every limitation of those

claims either literally or under the doctrine of equivalents.

         104.   Further when certain components of the Precept screw products are implanted by a

surgeon in order to treat one of several spine conditions the Precept screw products also directly

infringe at least claims 1 and 18 of the `200 patent.


                                                  27
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 28 of 40 PageID #: 793



         105.   Specifically, the Reline screw products comprise a “pivotal bone anchor assembly

for securing an elongate rod to a bone via a closure top” as set forth in claim 1 of the `200 patent.

The claim chart attached hereto as Exhibit 19 details how the Reline screw products directly

infringe at least claims 1 and 18 of the `200 patent by satisfying each and every limitation either

literally or under the doctrine of equivalents.

         106.   Further, when certain components of the Reline screw products are implanted by a

surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claims 1 and 18 of the `200 patent.

         107.   Specifically, the SpheRx II/III screw products comprise a “pivotal bone anchor

assembly for securing an elongate rod to a bone via a closure top” as set forth in claim 1 of the

`200 patent. The claim chart attached hereto as Exhibit 19 details how the SpheRx II/III screw

products directly infringe at least claims 1 and 18 of the `200 patent by satisfying each and every

limitation either literally or under the doctrine of equivalents.

         108.   Further when certain components of the SpheRx II/III screw products are implanted

by a surgeon in order to treat one of several spine conditions the SpheRx II/III screw products also

directly at least infringe claims 1 and 18 of the `200 patent.

         109.   Specifically, the VuePoint screw products comprise a “pivotal bone anchor

assembly for securing an elongate rod to a bone via a closure top” as set forth in claim 18 of the

`200 patent. The claim chart attached hereto as Exhibit 19 details how the VuePoint screw

products directly infringe at least claims 1 and 18 of the `200 patent by satisfying each and every

limitation either literally or under the doctrine of equivalents.

         110.   Further when certain components of the VuePoint screw products are implanted by

a surgeon in order to treat one of several spine conditions the VuePoint screw products also directly

infringe at least claims 1 and 18 of the `200 patent.

         111.   NuVasive had actual knowledge of the `200 patent and NuVasive’s unauthorized

use thereof as Dr. Jackson offered a license to NuVasive under the application that directly gave

rise to the `200 patent on or about March 7, 2019. Further, NuVasive, upon information and belief,


                                                  28
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 29 of 40 PageID #: 794



has the specific intent to encourage surgeons to directly infringe at least claims 1 and 18 of the

`200 patent by using and/or assembling components of the Armada, Precept, Reline, SpheRx II/III

and VuePoint screw products, respectively, as discussed above.              NuVasive provides the

components used in the completed pivotal bone anchor assembly for the Armada, Precept, Reline,

SpheRx II/III and VuePoint screw products along with instructions and tools to accomplish this

assembly. Consequently, NuVasive induces the infringement of the `200 patent through at least

its unauthorized sales of the Armada, Precept, Reline, SpheRx II/III and VuePoint screw products

pursuant to 35 U.S.C. § 271(b).

         112.   NuVasive’s Armada, Precept, Reline, SpheRx II/III and VuePoint screw products

and their systems can be sold partially disassembled in their constituent components as part of

surgical trays. These components, such as the “receiver,” “shank”, “pressure insert,” etc., as

claimed, comprise material components of the “pivotal bone anchor assembly for securing an

elongate rod to a bone via a closure top” of at least claims 1 and 18 and are designed, configured

and adapted to work with each other and have no substantial purpose other than as part of

infringing devices and accordingly are not staple articles of commerce. Consequently, NuVasive

contributes to the infringement of the `200 patent through at least its unauthorized sales of the

surgical trays incorporating the Armada, Precept, Reline, SpheRx II/III and VuePoint screw

products pursuant to 35 U.S.C. § 271(c).

         113.   As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `200 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `200 patent – an offer that NuVasive rejected.

                                           COUNT FIVE

                                  Infringement of the `444 Patent

         114.   Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 113.

         115.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `444 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to


                                                  29
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 30 of 40 PageID #: 795



sell, importing and/or distributing without authority the Armada, Precept, Reline, SpheRx II/III

and VuePoint screw products:

         116.     Specifically, the Armada screw products comprise a “pivotal bone anchor assembly

for securing an elongate rod to a bone via a closure top” as set forth in claim 1 of the `444 patent.

The claim chart attached hereto as Exhibit 20 details how the Armada product satisfies each and

every limitation of at least claim 1 of the `444 patent either literally or under the doctrine of

equivalents.

         117.     Further, when certain components of the Armada screw products are implanted by

a surgeon in order to treat one of several spine conditions the Armada product also directly

infringes at least claim 1 of the `444 patent.

         118.     Specifically, the Precept screw products comprise a “pivotal bone anchor assembly

for securing an elongate rod to a bone via a closure top” as set forth in claim 1 of the `444 patent.

The claim chart attached hereto as Exhibit 20 details how the Precept screw products satisfies

each and every limitation of at least claim 1 of the `444 patent either literally or under the doctrine

of equivalents.

         119.     Further, when certain components of the Precept screw products are implanted by

a surgeon in order to treat one of several spine conditions the Precept screw products also directly

infringe at least claim 1 of the `444 patent.

         120.     Specifically, the Reline screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `444 patent. The claim chart Exhibit 20 details how the Reline screw

products satisfies each and every limitation of at least claim 1 of the `444 patent either literally or

under the doctrine of equivalents.

         121.     Further, when certain components of the Reline screw products are implanted by a

surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claim 1 of the `444 patent.




                                                  30
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 31 of 40 PageID #: 796



         122.   Specifically, the SpheRx II/III screw products comprise a “medical implant

assembly having at least one polyaxial bone screw attached to a longitudinal connecting member”

as set forth in claim 1 of the `444 patent. The claim chart Exhibit 20 details how the SpheRx II/III

screw products satisfies each and every limitation of at least claim 1 of the `444 patent either

literally or under the doctrine of equivalents.

         123.   Further, when certain components of the SpheRx II/III screw products are

implanted by a surgeon in order to treat one of several spine conditions the SpheRx II/III screw

products also directly infringe at least claim 1 of the `444 patent.

         124.   Specifically, the VuePoint screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `444 patent. The claim chart Exhibit 20 details how the VuePoint screw

products satisfies each and every limitation of at least claim 1 of the `444 patent either literally or

under the doctrine of equivalents.

         125.   Further, when certain components of the VuePoint screw products are implanted

by a surgeon in order to treat one of several spine conditions the VuePoint screw products also

directly infringe at least claim 1 of the `444 patent.

         126.   NuVasive had or should have had actual knowledge of the `444 patent and

NuVasive’s unauthorized use thereof as Dr. Jackson offered a license to NuVasive under the

family of patents that included the `444 patent on or about March 7, 2019. Further, NuVasive,

upon information and belief, has the specific intent to encourage surgeons to directly infringe at

least claim 1 of the `444 patent by using and/or assembling components of the Armada, Precept,

Reline screw products, respectively, as discussed above. NuVasive provides the components used

in the completed pivotal bone anchor assembly for the Armada, Precept, Reline, SpheRx II/III and

VuePoint products along with instructions and tools to accomplish this assembly. Consequently,

NuVasive induces the infringement of the `444 patent through at least its unauthorized sales of the

Armada, Precept, Reline, SpheRx II/III and VuePoint products pursuant to 35 U.S.C. § 271(b).




                                                  31
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 32 of 40 PageID #: 797



         127.   NuVasive’s Armada, Precept, Reline, SpheRx II/III and VuePoint screw products

and their systems can be sold partially disassembled in their constituent components as part of

surgical trays. These components, such as the “receiver,” “shank,” “pressure insert,” etc., as

claimed, comprise material components of at least the “pivotal bone anchor assembly for securing

an elongate rod to a bone via a closure top” of at least claim 1 and the “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” of claim

1 of the `444 patent, and are designed, configured and adapted to work with each other and have

no substantial purpose other than as part of infringing devices and are accordingly not staple

articles of commerce. Consequently, NuVasive contributes to the infringement of the `444 patent

through at least its unauthorized sales of the surgical trays incorporating the Armada, Precept,

Reline, SpheRx II/III and VuePoint screw products pursuant to 35 U.S.C. § 271(c).

         128.   As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `444 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `444 patent – an offer that NuVasive rejected.

                                            COUNT SIX

                                 Infringement of the `273 Patent

         129.   Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 128.

         130.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `273 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the Armada, Precept, Reline, SpheRx II/III

and VuePoint screw products:

         131.   Specifically, the Armada screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `273 patent. The claim chart

attached hereto as Exhibit 21 details how the Armada screw product satisfies each and every

limitation of at least claims 1, 12 and 35 of the `273 patent either literally or under the doctrine of

equivalents.


                                                  32
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 33 of 40 PageID #: 798



         132.     Further, when certain components of the Armada screw products are implanted by

a surgeon in order to treat one of several spine conditions the Armada screw products also directly

infringes at least claims 1, 12 and 35 of the `273 patent.

         133.     Specifically, the Precept screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `273 patent. The claim chart

attached hereto as Exhibit 21 details how the Precept screw products satisfy each and every

limitation of at least claims 1, 12 and 35 of the `273 patent either literally or under the doctrine of

equivalents.

         134.     Further, when certain components of the Precept screw products are implanted by

a surgeon in order to treat one of several spine conditions also directly infringes at least claims 1,

12 and 35 of the `273 patent.

         135.     Specifically, the Reline screw products comprise a “medical implant assembly

having at least one polyaxial bone screw attached to a longitudinal connecting member” as set

forth in claim 1 of the `273 patent. The claim chart attached hereto as Exhibit 21, details how the

Reline product directly infringes at least claims 1, 12 and 35 of the `273 patent by satisfying each

and every limitation of claim 1, either literally or under the doctrine of equivalents.

         136.     Further, when certain components of the Reline screw product are implanted by a

surgeon in order to treat one of several spine conditions also directly infringes at least claims 1,

12 and 35 of the `273 patent.

         137.     Specifically, the SpheRx II/III screw products comprise a “medical implant

assembly having at least one polyaxial bone screw attached to a longitudinal connecting member”

as set forth in claim 1 of the `273 patent. The claim chart attached hereto as Exhibit 21, details

how the SpheRx II/III screw products directly infringe at least claims 1, 12 and 35 of the `273

patent by satisfying each and every limitation of those claims, either literally or under the doctrine

of equivalents.




                                                  33
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 34 of 40 PageID #: 799



          138.   Further, when certain components of the SpheRx II/III screw products are

implanted by a surgeon in order to treat one of several spine conditions also directly infringes at

least claims 1, 12 and 35 of the `273.

          139.   Specifically, the VuePoint screw products comprise a “bone anchor assembly for

securing an elongate rod to a bone” as set forth in claim 1 of the `273 patent. The claim chart

attached hereto as Exhibit 22 details how the VuePoint screw product satisfies each and every

limitation of at least claims 1 and 12 of the `273 patent either literally or under the doctrine of

equivalents.

          140.   Further, when certain components of the VuePoint screw products are implanted

by a surgeon in order to treat one of several spine conditions the VuePoint screw products also

directly infringes at least claims 1 and 12 of the `273 patent.

          141.   NuVasive had or should have had actual knowledge of the `273 patent and

NuVasive’s unauthorized use thereof as Dr. Jackson offered a license to NuVasive under the

family of patents that included the `273 patent on or about March 7, 2019. Further, NuVasive,

upon information and belief, has the specific intent to encourage surgeons to directly infringe at

least claims 1, 12 and 35 of the `273 patent by using and/or assembling components of the Armada,

Precept, Reline and SpheRx II/III screw products, respectively, as discussed above. For the same

reasons, upon information and belief, NuVasive has the specific intent to encourage surgeons to

directly infringe at least claims 1 and 12 of the `273 patent by using and/or assembling components

of the VuePoint screw products as discussed above. NuVasive provides the components used in

the completed bone anchor assembly for the Armada, Precept, Reline, SpheRx II/III and VuePoint

screw products along with instructions and tools to accomplish this assembly. Consequently,

NuVasive induces the infringement of the `273 patent through at least its unauthorized sales of the

Armada, Precept, Reline, SpheRx II/III and VuePoint screw products pursuant to 35 U.S.C. §

271(b).

          142.   NuVasive’s Armada, Precept, Reline and SpheRx II/III screw products and their

systems can be sold partially disassembled in their constituent components as part of surgical trays.


                                                 34
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 35 of 40 PageID #: 800



These components, such as the “shank,” “receiver,” “pressure insert,” etc., as claimed, comprise

material components of the “bone anchor assembly” of at least claims 1, 12 and 35 and are

designed, configured and adapted to work with each other and have no substantial purpose other

than as part of infringing devices and are accordingly not staple articles of commerce. For similar

reasons, NuVasive’s VuePoint screw products and their systems can be sold partially disassembled

in their constituent components as part of surgical trays. These components, such as the “shank,”

“receiver,” “pressure insert,” etc., as claimed, comprise material components of the “bone anchor

assembly” of at least claims 1 and 12 and are designed, configured and adapted to work with each

other and have no substantial purpose other than as part of infringing devices and are accordingly

not staple articles of commerce. Consequently, NuVasive contributes to the infringement of the

`273 patent through at least its unauthorized sales of the surgical trays incorporating the Armada,

Precept, Reline, SpheRx II/III and VuePoint screw products pursuant to 35 U.S.C. § 271(c).

         143.   As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `273 patent is willful from at least the date the `273 patent issued as Dr.

Jackson’s letter of March 7, 2019 offered NuVasive a license to the `273 patent – an offer that

NuVasive rejected.

                                          COUNT SEVEN

                                 Infringement of the `292 Patent

         144.   Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 143.

         145.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `292 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the SpheRx screw products:

         146.   Specifically, the SpheRx screw products comprise a “cannulated polyaxial bone

anchor assembly implantable in a bone and for mechanically coupling a stabilization member to

the bone” as set forth in claim 1 of the `292 patent. The claim chart attached hereto as Exhibit 23,

details how the SpheRx screw products directly infringe at least claims 1 and 25 of the `292 patent


                                                  35
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 36 of 40 PageID #: 801



by satisfying each and every limitation of those claims, either literally or under the doctrine of

equivalents.

         147.   Further, when components of the SpheRx screw products are implanted by a

surgeon in order to treat one of several spine conditions the assembled SpheRx screw products

also directly infringes at least claims 1 and 25 of the `292 patent as detailed in Exhibit 23.

         148.   NuVasive had actual knowledge of the `292 patent and NuVasive’s unauthorized

use thereof as Dr. Jackson offered a license to NuVasive under the `292 patent on or about March

7, 2019. Further, NuVasive, upon information and belief, has the specific intent to encourage

surgeons to directly infringe at least claims 1 and 25 of the `292 patent by assembling components

of the SpheRx product, as discussed above. NuVasive provides the components used in the

completed cannulated polyaxial bone anchor assembly for the SpheRx products along with

instructions and tools to accomplish this assembly.         Consequently, NuVasive induces the

infringement of the `292 patent through at least its unauthorized sales of the SpheRx products

pursuant to 35 U.S.C. § 271(b).

         149.   NuVasive’s SpheRx screw products and their systems can also be sold partially

dissembled in its constituent components as part of surgical trays. These components, such as the

“anchor member” and “head member”, etc. as claimed, comprise material components of the

“cannulated polyaxial bone anchor assembly implantable in a bone and for mechanically coupling

a stabilization member to the bone” of at least claims 1 and 25, and are designed, configured and

adapted to work with each other and have no substantial purpose other than as part of infringing

devices and are accordingly not staple articles of commerce. Consequently, NuVasive contributes

to the infringement of the `292 patent through at least its unauthorized sales of the surgical trays

incorporating the SpheRx products pursuant to 35 U.S.C. § 271(c).

         150.   As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `292 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `292 patent – an offer that NuVasive rejected.




                                                 36
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 37 of 40 PageID #: 802



                                          COUNT EIGHT

                                 Infringement of the `319 Patent

         151.   Plaintiff repeats and realleges as if fully set forth herein, the allegations contained

in all the preceding paragraphs ¶¶ 1 through 150.

         152.   As set forth below, NuVasive has infringed and continues to infringe one or more

claims of the `319 patent under 35 U.S.C. § 271 by manufacturing, providing, selling, offering to

sell, importing and/or distributing without authority the Precept and Reline screw products:

         153.   Specifically, the Precept screw products comprise a “pivotal bone anchor assembly

for anchoring to patient bone and coupling with an elongated implant via a closure” as set forth in

claim 1 of the `319 patent as satisfying each and every limitation of claim 1 of the `319 patent.

The claim chart attached hereto as Exhibit 24 details how the Precept screw products directly

infringe at least claims 1, 5, 7-8, 10-11 and 22 of the `319 patent by satisfying each and every

limitation of those claims of the `319 patent either literally or under the doctrine of equivalents.

         154.   Further, when certain components of the Precept screw products are implanted by

a surgeon in order to treat one of several spine conditions the Precept screw products also directly

infringe at least claims 1, 5, 7-8, 10-11 and 22 of the `319 patent as detailed in Exhibit 24.

         155.   Specifically, the Reline screw products comprise a “pivotal bone anchor assembly

for anchoring to patient bone and coupling with an elongated implant via a closure” as set forth in

claim 1 of the `319 patent. The claim chart attached hereto as Exhibit 24 details how the Precept

screws product directly infringe at least claims 1, 5, 7-8, 10-11 and 22 of the `319 patent by

satisfying each and every limitation of those claims either literally or under the doctrine of

equivalents.

         156.   Further, when certain components of the Reline screw products are implanted by a

surgeon in order to treat one of several spine conditions the Reline screw products also directly

infringe at least claims 1, 5, 7-8, 10-11 and 22 of the `319 patent as detailed in Exhibit 24.

         157.   NuVasive had actual knowledge of the `319 patent and NuVasive’s unauthorized

use thereof as Dr. Jackson offered a license to NuVasive under the application directly giving rise


                                                  37
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 38 of 40 PageID #: 803



to the `319 patent on or about March 7, 2019. Further, NuVasive, upon information and belief,

has the specific intent to encourage surgeons to directly infringe at least claim 1 of the `319 patent

by using and/or assembling components of the Precept and Reline screw products, respectively, as

discussed above. NuVasive provides the components used in the completed pivotal bone anchor

assembly for the Precept and Reline products along with instructions and tools to accomplish this

assembly. Consequently, NuVasive induces the infringement of the `319 patent through at least

its unauthorized sales of the Precept and Reline products pursuant to 35 U.S.C. § 271(b).

         158.    NuVasive’s Precept and Reline products and their systems can be sold partially

disassembled in their constituent components as part of surgical trays. These components, such

as the “shank,” “receiver,” “compression insert,” etc., as claimed, comprise material components

of the “pivotal bone anchor assembly for anchoring to patient bone and coupling with an elongated

implant via a closure” of at least claim 1, and are designed, configured and adapted to work with

each other and have no substantial purpose other than as part of infringing devices and are

accordingly not staple articles of commerce.             Consequently, NuVasive contributes to the

infringement of the `319 patent through at least its sales of the surgical trays incorporating the

Precept and Reline screw products pursuant to 35 U.S.C. § 271(c).

         159.    As outlined above, under the totality of the circumstances, NuVasive’s

infringement of the `319 patent is willful from at least the date of Dr. Jackson’s letter of March 7,

2019 offering NuVasive a license to the `319 patent – an offer that NuVasive rejected.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court:

        A. Hold that Defendant NuVasive has infringed one or more claims of the Asserted Patents

             pursuant to 35 U.S.C. § 271.

        B. Preliminarily and permanently enjoin Defendant NuVasive as well as its respective

             agents, servants, officers, directors, employees and all other persons or entities acting in

             concert with them, directly or indirectly, from infringing, inducing others to infringe, or

             contributing to the infringement of the Asserted Patents pursuant to 35 U.S.C. § 283.


                                                    38
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 39 of 40 PageID #: 804



        C. Order Defendant NuVasive to account for and pay to Plaintiff damages as a consequence

             of Defendant’s infringement of the Asserted Patents, as available to Plaintiff, under 35

             U.S.C. § 284.

        D. Find that Defendant NuVasive’s infringement is willful and accordingly award Plaintiff

             enhanced damages in accordance with 35 U.S.C. § 284.

        E. Declare this case exceptional pursuant to 35 U.S.C. § 285 and award Plaintiff reasonable

             attorneys’ fees and costs in this action.

        F. Award to Plaintiff its costs, expenses, disbursements, and attorneys’ fees incurred

             herein.

        G. Award to Plaintiff pre-judgment and post-judgment interest on the foregoing amounts

             at the maximum rate recoverable by law.

        H. Award to Plaintiff such other and further relief as the Court deems just and proper.


                                    DEMAND FOR JURY TRIAL
         Plaintiff Roger P. Jackson, M.D. demand trial by jury of all issues triable by a jury.


                                                         POLSINELLI PC

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                                                    39
75062127.4
Case 1:21-cv-00053-RGA Document 1 Filed 01/19/21 Page 40 of 40 PageID #: 805




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January 19, 2021




                                     40
75062127.4
